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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


UNITED STATES OF AMERICA               *
                                       *
           v.                          *          1:21-CR-00143-ELR
                                       *
VICTOR HILL,                           *
                                       *
     Defendant.                        *
                                  _________

                                 ORDER
                                 _________

     The Defendant was convicted following a jury trial. A Sentencing Hearing is

scheduled for TUESDAY, FEBRUARY 28, 2023 at 9:30 AM, Courtroom 1708,

75 Ted Turner Drive SW, Atlanta, Georgia 30303.

     SO ORDERED, this 7th day of November, 2022.


                                          ______________________________
                                          Eleanor L. Ross
                                          United States District Judge
                                          Northern District of Georgia
